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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

CONSUELO CERVANTES,                                   §
    Plaintiff,                                        §
                                                      §
v.                                                    §
                                                      §      EP-18-CV-110 -KC
TENET HOSPITALS LIMITED, a Texas                      §
Limited Partnership, d/b/a THE HOSPITALS              §
OF PROVIDENCE EAST CAMPUS,                            §
      Defendant                                       §

                     PLAINTIFF’S AMENDED ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, CONSUELO CERVANTES, Plaintiff complaining of TENET HOSPITALS

LIMITED, a Texas Limited Partnership, d/b/a THE HOSPITALS OF PROVIDENCE EAST

CAMPUS, Defendant, for cause of action would show the Court the following:

                                           PARTIES

     1. CONSUELO CERVANTES is an individual residing in El Paso, El Paso County, Texas.

     2. Defendant TENET HOSPITALS LIMITED, a Texas Limited Partnership, d/b/a THE

        HOSPITALS OF PROVIDENCE EAST CAMPUS (hereinafter “Providence”), may be

        served with process by serving its agent CT Corporation System, 701 Brazos, Suite 720,

        Austin, Texas 78701, by certified mail return receipt requested.




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                            JURISDICTION AND VENUE

3. This Court has subject-matter jurisdiction over this civil action pursuant to 28 U.S.C. §

   1331 because Plaintiff brings this suit pursuant to 42 U.S.C §1395dd, also known as the

   Federal Emergency Medical Treatment and Active Labor Act (hereinafter referred to an

   “EMTALA”).

4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because a

   substantial part of the events or omissions giving rise to this claim occurred in this

   judicial district.

                              FACTUAL BACKGROUND

5. On April 9, 2016 and April 10, 2016, Plaintiff had sought care in the emergency

   department of Del Sol Medical Center, where a non-reducible loop of bowel had been

   detected in her umbilical area.

6. Plaintiff was discharged from Del Sol’s emergency department at 6:32 am on April 10,

   2016 and told to go to another hospital.

7. The Providence emergency physician documented that Plaintiff had a tender mass in her

   umbilical area.

8. The medical term for loops of bowel that are trapped outside of the abdominal cavity is

   “incarcerated.”

9. Intestines that are incarcerated are at risk of becoming ischemic and are a surgical

   emergency.

10. Ischemia of the intestines can lead to death of the bowel.



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11. Ischemia of the intestines can lead to sepsis due a release of toxins and bacteria into the

   body through the injured bowel wall.

12. Sepsis causes shock and is frequently lethal. If the patient does not die from the sepsis,

   the patient may have a long and complicated recovery which may leave her debilitated

   for many months.

13. On April 10, 2016, at 6:59 a.m., Consuelo Cervantes sought emergency care at

   Providence’s emergency department for abdominal pain.

14. Plaintiff’s blood pressure was low at 97/49 and her pulse was abnormally fast at 125

   beats per minute, indications of shock.

15. At that time, she reported her pain level to be 8 out of 10.

16. Plaintiff was in shock when she sought care at Providence.

17. Shock is an emergency medical condition and Plaintiff required immediate resuscitation

   with intravenous fluids. Shock due to sepsis requires immediate intravenous fluids and

   antibiotics. Intravenous fluids and antibiotics were not given to Plaintiff for several

   hours after she arrived.

18. At 10:37 a.m., the emergency physician, Manuel Aranda, M.D., spoke with Dr. Jaime

   Gomez, a general surgeon regarding consultation on Plaintiff. Dr. Gomez reportedly

   accepted the consult but agreed to see Plaintiff in his office in 2-3 days.

19. At 11:34 a.m., Plaintiff was given a bolus of 2000 cc’s of normal saline intravenously, as

   she had a pulse of 140 beats per minute and an abnormally high respiratory rate of 24

   breaths per minute, signs of physical deterioration.

20. At 12:36 p.m., Dr. Aranda ordered a CT scan with contrast of Plaintiff’s abdomen.

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21. The scan was not ordered stat (emergently). Its findings were reviewed by Dr. Aranda at

   3:41 p.m.

22. As of 3:41 p.m., Consuelo Cervantes had been in documented shock for over 8 hours.

23. The CT scan revealed a pneumoperitoneum (air in the abdominal cavity outside of the

   intestines), fluid in the abdominal cavity outside of the intestines and a ventral hernia

   above the umbilicus containing loops of bowel.

24. At 3:46 p.m., Dr. Jaime Gomez was again consulted but refused the consultation.

25. At 3:50 p.m., a call was placed to Oluwamayowa Familua, M.D., the general surgeon

   believed to be on-call for emergency patients.

26. Dr. Familua called back at 4:21 p.m. and agreed to care for Consuelo Cervantes.

27. At 4:09 p.m., orders were given to admit Consuelo Cervantes to the intensive care unit

   (ICU).

28. At 4:22 p.m., Plaintiff received a second intravenous of normal saline and the first dose

   of an anti-biotic, Flagyl.

29. At 5:21 p.m., a drug, phenylephrine, was given intravenously to increase Plaintiff’s blood

   pressure.

30. At 5:30 p.m, Dr. Ikedieze Chukwu assessed Connie Cervantes and notified Dr.

   Oluwamayowa Familua of the need for emergency surgery.

31. At 6:00 p.m. Consuelo Cervantes was still in shock and still in the emergency

   department.

32. Consuelo Cervantes was transferred to ICU under the care of Dr. Chuckwu for shock due

   to sepsis.

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33. At 7:00 p.m., twelve hours after Consuelo Cervantes sought emergency care at

   Providence for her abdominal pain, she was taken to surgery by Oluwamayowa Familua,

   M.D., who found Consuelo Cervantes had a perforated and necrotic small bowel, diffuse

   peritonitis, and an intra-abdominal abscess.

34. Consuelo Cervantes remained hospitalized at Providence until May 19, 2016, due to

   numerous complications, including respiratory and renal failure, caused by the delay in

   obtaining surgical resolution of her incarcerated bowel.

35. On May 19, 2016, Plaintiff was transferred to St. Teresa Nursing and Rehabilitation

   Center where she remained until mid-July, 2016.

36. Plaintiff was too debilitated to be medically cleared to seek work for over a year after

   being discharged from St. Teresa.

                    CAUSE OF ACTION – EMTALA VIOLATION

37. Plaintiff repeats and incorporates each of the allegations contained in the preceding

   paragraphs as if set forth fully herein.

38. Plaintiff went to Providence’s emergency room.

39. Plaintiff had an emergency medical condition.

40. Providence did not adequately screen Plaintiff to determine whether Plaintiff had such an

   emergency condition or Providence failed to timely stabilize Plaintiff, knowing she had

   an emergency medical condition.

                                 PROXIMATE CAUSE

41. Defendant’s EMTALA violation is a proximate cause of the injuries and damages set

   forth in this Petition.

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                                          DAMAGES

    42. As a direct and proximate result of Providence’s violations of EMTALA, Plaintiff seeks a

        judgment awarding compensation for: (1) Physical pain and suffering; (2) Mental

        anguish; (3) Loss of income; (4) Medical expenses; (5) Deconditioning and physical

        impairment; (6) Decreased life expectancy; and (7) any award she is entitled to for its

        EMTALA violation, including punitive damages.

                                           PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the Defendant be

cited to appear and answer, and that upon final hearing of this cause, judgment be entered for the

Plaintiff against Defendant for her damages as set out above, in an amount within the

jurisdictional limits of the Court, for an award in keeping with the intent of EMTALA, together

with pre-judgment interest at the maximum rate allowed by law, post-judgment interest at the

maximum legal rate, costs of court, and for such other and further relief to which she may be

entitled at law or in equity.

                                                     Respectfully submitted,

                                                      /s/ John Grost
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                                                     ATTORNEYS FOR PLAINTIFF

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